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      EXHIBIT T
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                                      EXHIBIT T




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TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
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EXHIBIT T, Page 2
TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
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EXHIBIT T, Page 3
TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
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                 Defendants’ origin story from Defendants’ website




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TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
SUNG JIN SU v. WORLD KUK SOOL ASSOCIATION, INC., et al.
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                                 L+12)+>=6A4:+*=+<23:+=@46+288+=>+<;)+32*;=3M)+2>>2;6)+*=+*<4+F2B234)4
                               47B46=6G+H<;)+12)+;3+3=+129+64>84A*;@4+=>+?=642M)+82AN+=>+726*;28+26*)
                               N3=184:(4+=6+)N;88)-+E'*+12)+;3)*42:+2+64>84A*;=3+=>+*<4+32*;=3M)
                               648'A*23A4+*=+B6=:'A4+23:+2:2B*+*=+*<4+*==8)+=>+7=:463+126>264G
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                               *47B=626;89-+B6;=6+*=+2+B6=B=)4:+;7B84743*2*;=3+=>+2+A=3)A6;B*
                               B6=(627+*<2*-+=>+A='6)4-+34@46+A274+;3*=+E4;3(G+H<4+>2;8'64+=>
                               ?=6423+7;8;*269+>=6A4)+*=+2:2B*+*=+7=:463+*==8)+23:+74*<=:)+=>
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                               ?=6423+B4=B84+;3*=+F2B234)4+)=A;4*9+12)+*<4+8=3(P*467+(=28+>=6+*<4
                               A=8=39GD+H<;)+*<43+A642*4:+2+CB=146>'8+23:+;3*6');@4+)*2*4
                               '3B64A4:43*4:+;3+?=6423+45B46;43A4GD+R3+>2A*-+*<4+?=6423+823('2(4
                               K_23('8L+12)+4@43+)'BB64))4:-+2)+*<4+B4=B84+=>+?=642+1464
                               C43A='62(4:D+*=+)B42N+F2B234)4+E9+*<4+=AA'B9;3(+(=@463743*G
                               [44:84))+*=+)29-+*<4+*62:;*;=328+726*;28+26*)+=>+?=642+1464+E2334:+2)
                               1488G
                               W'6;3(+*<;)+*;74-+F2B234)4+726*;28+26*)+*4A<3;`'4)+1464+E6='(<*+*=
                               ?=642-+E=*<+E9+*<4+F2B234)4+*<47)48@4)+23:+E9+?=6423)+1<=+<2:
                               )B43*+*;74+;3+F2B23-+23:+1<=+<2:+)*':;4:+*<4+726*;28+26*)+*<464G
                               I=74+?=6423+<;)*=6;23)-+*<='(<-+E48;4@4+*<2*+*<4+726*;28+26*)+*<2*
                               *<4+F2B234)4+E6='(<*+;3*=+*<4+A='3*69+1464+3=*+E4;3(+;7B=6*4:-+)=
                               7'A<+2)+*<49+1464+E4;3(+64*'634:+*=+*<4;6+B=;3*+=>+=6;(;3G+H<49
                               E48;4@4:+*<2*+*<49+1464+;3+2A*'28;*9-+726*;28+26*)+74*<=:)+*<2*+<2:
                               E443+2:=B*4:+E9+*<4+F2B234)4+2*+)=74+4268;46+B=;3*+;3+<;)*=69+23:                                                                                                                  }
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                               '()*+,-,.')-+/0+'()1+2*'3+,+4'05)+'(,'+6,4+137)+7)85)9'2:)+38+'()
                               ;,.,*)4)+9<5'<7)=+>:)*+'(3<?(+'()4)+4'05)4+,*-+1)'(3-4+1,0+(,:)
                               372?2*,550+/))*+@37),*+2*+372?2*A+/0+'(24+.)723-+'()0+(,-+',B)*+3*+,
                               -24'2*9'50+;,.,*)4)+85,:37=+C*837'<*,')50A+.)3.5)+63<5-+5,')7
                               124',B)*50+93*42-)7+'()4)+;,.,*)4)D2*85<)*9)-+1,7'2,5+,7'4A+6(29(
                               '()+@37),*+.)3.5)+6)7)+,5536)-+'3+.7,9'29)+-<72*?+'(24+.)723-+38
                               837)2?*+-312*,'23*A+,4+,9'<,5+@37),*+1,72',5+,7'4+5,7?)50+2?*37,*'+38
                               @37),E4+729(+1,7'2,5+,7'4+()72',?)=
                               F4+(,4+,57),-0+/))*+*3')-A+'()+.7,9'29)+38+,*0+437'+38+@37),*
                               1,7'2,5+,7'4+-<72*?+'()+.)723-+38+'()+;,.,*)4)+399<.,'23*+(,-+/))*
                               4'729'50+837/2--)*+/0+'()+399<.02*?+8379)4G+,*-+,*0+@37),*+9,<?('
                               .7,9'292*?+'()1+H37+):)*+6374)A+'),9(2*?+'()1I+63<5-+/)+4):)7)50
                               .<*24()-+<*-)7+,+5)?,5+404')1+'(,'+6,4+.,7'29<5,750+(,74(+3*+'()
                               *,'2:)+@37),*+.3.<5,'23*=+J*)+12?('+21,?2*)+'()+93*4)K<)*9)4+38
                               '),9(2*?+37+.7,9'292*?+,+1,7'2,5+,7'+'(,'+93<5-+.3442/50+,2-+2*+,*
                               2*4<77)9'23*+37+,*+<.7242*?+/0+'()+@37),*+.3.<5,'23*+,?,2*4'+'()
                               ;,.,*)4)=
                               L()7)+6)7)A+2*+8,9'A+?<)77255,+3.)7,'23*4+93*-<9')-+'(73<?(3<'+'(24
                               .)723-+/0+.,'723'29+@37),*+?73<.4=+F4+,+7)4<5'+38+'(24A+,*+3*?32*?
                               .35290+38+'()+;,.,*)4)+6,4+'3+931.5)')50+)5212*,')+'()+*,'2:)
                               @37),*+/5,-)-+6),.3*4+H4<9(+,4+4637-4+,*-+4.),74IA+1,*0+38+6(29(
                               (,-+/))*+8,1250+()2753314+837+?)*)7,'23*4=+L()0+6)7)+)2'()7+1)5')-
                               -36*+,*-+-)4'730)-A+37+6)7)+4(2..)-+3<'+38+'()+93<*'70+'3+;,.,*=
                               M)9,<4)+38+'()+4):)72'0+38+'(24+7).7)4423*A+'()+95,*-)4'2*)+1,**)7
                               <*-)7+6(29(+'()+*,'2:)+@37),*+1,7'2,5+,7'4+6)7)+.7,9'29)-+H6(29(
                               (,-+,56,04+/))*+2*+):2-)*9)+/)9,<4)+43+1,*0+38+'()+')9(*2K<)4
                               6)7)+N),53<450+?<,7-)-+4)97)'4I+6,4+?7),'50+2*')*4282)-=+O'+6,4+837
                               '(24+7),43*+'(,'+7)5,'2:)50+8)6+.)3.5)+H):)*+,13*?+'()+*,'2:)
                               @37),*4I+6)7)+8,1252,7+62'(+'()+729(+1,7'2,5+()72',?)+,*-+'7,-2'23*4
                               38+'()27+36*+93<*'70=+>:)*+,13*?+'(34)+6(3+6)7)+,6,7)+38+'(24+729(
                               9<5'<7,5+()72',?)A+3*50+,+:)70+41,55+*<1/)7+,9'<,550+.,7'292.,')-+2*
                               '()+'7,2*2*?+837+8),7+38+7).724,5=+L()+13-)7*+(24'370+38+@37),
                               H9)7',2*50+'()+13-)7*+(24'370+38+@37),*+1,7'2,5+,7'4+,*-+'()
                               -):)53.1)*'+38+@<B+P335+Q3*I+1<4'+/)?2*+2*+RSRT+62'(+'()
                               -241,*'52*?+38+'()+@37),*+U30,5+V3<7'+,712)4+/0+'()+*)6+;,.,*)4)
                               7<5)74=+W,*0+38+'()+.,'723'29+W,4')7+O*4'7<9'374+38+'()+@37),*+W,7'2,5
                               F7'4+6)7)+8379)-+'3+85))+'()+;,.,*)4)+8379)4+,*-+'3+?3+2*'3+(2-2*?=
                               F13*?+'(34)+.,'723'4+6,4+W,4')7+O*4'7<9'37+P<(+W0<(*?+X<B+H
                                 IA+6(3+7)'<7*)-+'3+(24+8,1250+(31)+2*+'()+L,)?<+,7),+,*-+'()*+4)'
                               ,/3<'+'()+',4B+38+.7)4)7:2*?+(24+:,4'+1,7'2,5+,7'+B*365)-?)+/0
                               '),9(2*?+2'+4)97)'50+'3+(24+8,1250+1)1/)74=
                               P<(+W0<(*?+X<B+6,4+3*)+38+'(34)+.,'723'29+@37),*4+6(3+()5.)-+'3
                               .7):)*'+'(24+93<*'70E4+*,'2:)+1,7'2,5+,7'4+8731+/)9312*?+)Y'2*9'
                               <*-)7+'()+7).7)442:)+;,.,*)4)+9<5'<7,5+.35292)4=+L()+P<(+8,1250+(,-
                               .7,9'29)-+1,7'2,5+,7'4+837+RZ+?)*)7,'23*4=+W,4')7+P<(+1,-)+,
                               .)743*,5+93112'1)*'+'3+1,2*',2*+'(24+'7,-2'23*A+):)*+<*-)7+'()
                               '(7),'+38+4):)7)+.<*24(1)*'A+/0+.,442*?+(24+)Y')*42:)+1,7'2,5+,7'4
                               B*365)-?)+-36*+'3+8<'<7)+?)*)7,'23*4=+[731+,13*?+,55+38+(24
                               ?7,*-9(25-7)*A+W,4')7+P<(+9,7)8<550+4)5)9')-+3*)+9(25-+6(3+63<5-         \
                               /)931)+'()+:)44)5+2*'3+6(29(+'()+:,4'*)44+38+(24+1,7'2,5+,7'4
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                               '()*+,-.,/0)1+-/2,/3)14,-5/6789/07:+-/*8;/7:;/.48(-;)(</=17/>(
                               ?@1'5
                               A)1(./=17/*8;/B1:9,/+:9,48++@/2)4(/:(9)/97,/C849:8+/849;5/?,/*8;
                               *8907:(./C,C2,4;/)D/7:;/D8C:+@/34809:0,/C849:8+/849;/D4)C/97,/9:C,
                               7,/)3,(,-/7:;/,@,;5/?:;/)*(/D)4C8+/C849:8+/849;/948:(:(./2,.8(
                               *7,(/7,/*8;/)(+@/E/@,84;/)+-</1(-,4/97,/919,+8.,/)D/7:;/.48(-D897,45
                               F+C);9/8;/97)1.7/7,/4,8+:G,-/97,/;:.(:D:08(0,/)D/97,/98;'/9789/*)1+-
                               1(D)+-/2,D)4,/7:C</7,/948:(,-/,H94,C,+@/-:+:.,(9+@/D)4/8/2)@/)D/;107
                               8/@)1(./8.,5/?:;/I48(-D897,4/*8;/97,4,/9)/0+);,+@/C)(:9)4/,J,4@
                               -,98:+/)D/@)1(./=17K;/948:(:(./*:97/8/;9,4(/78(-/8(-/*:97/8
                               C,9:01+)1;/899,(9:)(/9)/97,/C);9/;129+,/-,98:+/)D/2)97/D)4C/8(-
                               9,07(:B1,</*7:+,/.1:-:(./8(-/0)(94)++:(./8++/8;3,09/)D/7:;/.48(-;)(K;
                               C,(98+/948:(:(.5
                               67,/L838(,;,/)001389:)(/,(-,-/:(/MNOE</7)*,J,4</,J,(/8;/)97,4
                               D)40,;/PC);9/()982+@/97,/Q(:9,-/=989,;/8(-/97,/=)J:,9;R/2,.8(/9)
                               ;783,/97,/S)4,8(/(89:)(</@)1(./;91-,(9/=17K;/948:(:(./0)(9:(1,-5
                               F;/7,/948:(,-/C)4,/8(-/C)4,</7:;/'()*+,-.,/)D/97,/C849:8+/849;/8(-
                               7:;/;':++D1+/,H,019:)(/)D/0)C3+,H/9,07(:B1,;/2,.8(/9)/;1438;;/,J,(
                               97,/,H3,0989:)(;/)D/7:;/.48(-D897,45/A)1(./=17K;/948:(:(./0)(9:(1,-
                               1(:(9,44139,-/1(9:+/97,/C:--+,/)D/97,/S)4,8(/T84</89/*7:07/9:C,
                               U)497/S)4,8(/;)+-:,4;/D898++@/*)1(-,-/7:;/.48(-D897,45/67,/-,897/)D
                               =17/V@17(./W1'/08C,/8;/8/7,8J@/8(-/1(,H3,09,-/2+)*/9)/97,
                               @)1(./;91-,(9</219/D)491(89,+@</7:;/.48(-D897,4/78-/34)J:-,-/D)4/7:;
                               0)(9:(1,-/948:(:(.5/X4:)4/9)/7:;/-,897</+,99,4;/)D/:(94)-109:)(/D4)C
                               =17/V@17(./W1'/9)/:(;94109)4;/8(-/34809:9:)(,4;/)D/948-:9:)(8+
                               S)4,8(/C849:8+/849;/C,97)-;/974)1.7)19/S)4,8/78-/2,,(/34,384,-5
                               F4C,-/*:97/97,;,/+,99,4;/)D/:(94)-109:)(/8(-/7:;/.48(-D897,4K;
                               280'.4)1(-/8;/8/V8;9,4/>(;94109)4/)D/S)4,8(/V849:8+/F49</C8(@
                               -))4;/)D/:(;94109:)(/2,08C,/)3,(/9)/97,/@)1(./;91-,(9/9789/C:.79
                               )97,4*:;,/78J,/2,,(/0+);,-5
                               >9/*8;/-14:(./97:;/3,4:)-/9789/@)1(./=17/2,.8(/9)/J:;:9/8(-/+,84(
                               D4)C/C8(@/-:DD,4,(9/9,807,4;/8(-</8;/7,/2,08C,/)+-,4</7:;
                               '()*+,-.,/:(04,8;,-/8;/7,/948J,+,-/974)1.7)19/97,/0)1(94@;:-,
                               ;91-@:(./97,/C8(@/-:DD,4,(9/8;3,09;/)D/S)4,8K;/948-:9:)(8+/D:.79:(.
                               849;5/Y@/97,/8.,/)D/9*,(9@</=17/>(/?@1'/78-/948J,+,-/,H9,(;:J,+@<
                               J:;:9:(./71(-4,-;/)D/Y1--7:;9/9,C3+,;/PC8(@/)D/*7:07/;,4J,-/8;
                               4,3);:9)4:,;/)D/948-:9:)(8+/S)4,8(/C849:8+/849;</,:97,4/8;/3+80,;/*7,4,
                               97,/C849:8+/849;/9,07(:B1,;/*,4,/;9:++/34809:0,-</)4/8;/;9)4,7)1;,;/)D
                               C849:8+/849;/4,0)4-/8(-/C8(18+;R/8(-/34:J89,/C849:8+/849;/:(;94109)4;
                               8;/*,++5/Z4)C/;)C,/)D/97,;,/;)140,;/7,/C:.79/+,84(/8/*,8+97/)D
                               C849:8+/849;/'()*+,-.,/8(-/D4)C/)97,4/7,/C:.79/+,84(/)(+@/8/;:(.+,
                               P8+2,:9/:C3)498(9R/9,07(:B1,/)4/C,97)-5
                               67,/;9)4@/:;/9)+-/)D/)(,/)D/7:;/9,807,4;/P*7)/7833,(,-/9)/2,/8
                               Y1--7:;9/C)('R/D4)C/*7)C/7,/+,84(,-/8/3849:01+84/;94:':(./C,97)-
                               8(-/8/*8@/9)/0)(94)+/97,/3)*,4/:(/7:;/;94:',5/67,/9,807,4/9)+-/@)1(.
                               =17/9)/;94:',/8/(,842@/94,,/8(-/9)/'()0'/97,/+,8J,;/D4)C/:9;
                               248(07,;5/67,/@)1(./=17/;9410'/97,/94,,/8(-/97,/+,8J,;/D,++/+:',/48:(
                               8++/84)1(-/7:C5/67,/9,807,4/97,(/+))',-/89/7:C/8(-/9)+-/7:C/()*/9)
                               ;94:',/:9/:(/;107/8/*8@/9789/)(+@/)(,/+,8D/*)1+-/D8++5/=17/;3,(9          [
                               C)(97;/3,4D,09:(./97:;/;:(.+,/9,07(:B1,5
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                               ()*+,-.*./01*0/))123*4512*/*612-47*48*91/2.3*,1*:1;/01*8/0-<-/2*=-+,
                               0/)9*/.61;+.*48*+,1*+2/7-+-4)/<*>421/)*0/2+-/<*/2+.3*=,-;,*,/7
                               :1;401*/<<*:?+*842@4++1)*:9*+,1*;4004)*6146<1A*B*)4:<1*/)7
                               )4+1=42+,9*/;;406<-.,01)+*842*4)1*.4*94?)@3*+,1*94?)@*.+?71)+
                               C?,D.*<151<*48*.E-<<*/)7*=-.740*,/7*624@21..17*:9*+,-.*+-01*+4*+,1
                               64-)+*48*0/.+129A*(+*=/.*7?2-)@*+,-.*612-47*-)*,-.*<-81*+,/+*F/.+12*C?,
                               01+*/*0/)*=,4*=/.*+4*:1;401*,-.*.1;4)7*04.+*-)8<?1)+-/<*+1/;,12G
                               /)*4<7*H?77,-.+*04)E*=,4*=/.*E)4=)*/.*I/-*J4)@*C1?*K-0*L
                                 3*=,-;,*+2/).</+1.*/.*M+,1*N21/+*F4)E*48*+,1*O/.+*C1/PQA*R,1*94?)@
                               0/.+12*<1/2)17*0/)9*7-88121)+*.E-<<.*8240*+,1*4<7*04)E3*:?+*48
                               6/2+-;?</2*-0642+/);1*=/.*+,1*-).+2?;+-4)*+,/+*,1*21;1-517*-)*.61;-/<
                               +961.*48*:21/+,-)@*1S12;-.1.3*017-+/+-4)*+1;,)-T?1.*/)7*>-*L-)+12)/<
                               1)12@9Q*.E-<<.A
                               (+*=/.*-)*+,1*</+1*UVWXD.3*C?,*()*I9?E*:1@/)*+,1*04)?01)+/<*+/.E*48
                               42@/)-Y-)@*+,1*.;/++1217*0/2+-/<*/2+.*+1;,)-T?1.*+,/+*,1*,/7
                               @/+,1217*-)*42712*+4*;406-<1*+,10*-)+4*/)*42@/)-Y17*/)7
                               .9.+10/+-Y17*=,4<1A*I-.*/-0*=/.*+4*6247?;1*/*.-)@<1*>421/)
                               )/+-4)/<*0/2+-/<*/2+3*42*>?E*C44<*L 3*/<.4*E)4=)*/.*I4*>?E*F44
                               Z1/G*         3*42*B2+.*[.17*-)*J181).1*48*+,1*K/+-4)QA
                               ()*UVW\3*+,/+*+/.E*=/.*;406<1+17*/)7*>?E*C44<*=/.*1.+/:<-.,17*/.
                               +,1*04.+*;406<1+1*.9.+10/+-;*.+?79*48*>421/)*+2/7-+-4)/<*0/2+-/<*/2+
                               1512*715-.17A*()*+,1*./01*91/23*>?E*C/*K-0*L()*I9?E*C?,Q*,/7*8-2.+
                               ;4-)17*+,1*+120*>?E*C44<*+4*21621.1)+3*)4+*]?.+*/*.+9<1*42*+961*48
                               0/2+-/<*/2+3*:?+*/*;406<1+1*.9.+10*0/71*:9*>?E*C/*K-03*=,-;,
                               21621.1)+17*/*71+/-<17*/)7*42@/)-Y17*.+?79*48*+,1*+2/7-+-4)/<
                               >421/)*0/2+-/<*/2+.*8240*+,1*/);-1)+*+-01.*48*>421/*?6*?)+-<*+,1
                               621.1)+*7/9A
                               R,1*91/2*UV^U*=/.*/*,-.+42-;*4)1*842*+,1*>421/)*0/2+-/<*/2+.3*842*-+
                               =/.*-)*+,/+*91/2*+,/+*C?,*()*I9?E*488-;-/<<9*84?)717*+,1*>?E*C44<
                               _4)A*(+*=/.*/+*+,-.*+-013*/<.43*+,/+*F/.+12*C?,*2151/<17*,-.
                               -),12-+/);1G*`-51*;406-<17*:44E.*4)*>421/)*0/2+-/<*/2+.3*=,-;,*,/7
                               :11)*,/)717*74=)*+4*,-0*8240*,-.*@2/)78/+,12A*R,1.1*8-51*:44E.
                               /21G
                                  Z?*C44<G*
                                  >=4)*C44<G*
                                  Z?b>=4)*C44<G*
                                  _,/,<*H?,6G*
                                  I9?,<*H?,6G*
                               R,1*-),12-+/);1*48*+,1.1*8-51*54<?01.*@/51*8?2+,12*<1@-+-0/;9*+4*+,1
                               +/.E*+,/+*C?,*,/7*;,4.1)A*_-+,*+,1*1.+/:<-.,01)+*48*>?E*C44<*/.*/
                               0/2+-/<*/2+3*+,1*+-+<1*48*N2/)70/.+123*42*>?E*C/*K-0*L G*<-+12/<<93
                               K/+-4)/<*F/2+-/<*B2+.*R1/;,12Q*=/.*6/..17*4)*+4*+,1*.+-<<*21</+-51<9
                               94?)@*F/.+12*C?,3*+,1)*/@17*aaA
                               B<.4*-0642+/)+*=/.*+,1*8/;+*+,/+3*/<+,4?@,*>?E*C/*K-0*,/7*:11)
                               +1/;,-)@*0/2+-/<*/2+.*842*0/)9*91/2.*62-42*+4*+,1*/;+?/<*84?)7-)@*48      c
                               >?E*C44<*_4)3*+,1*+2/-)-)@*/8+12*+,1*B..4;-/+-4)D.*84?)7-)@*+44E*4)
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                               40+7062=7.5+07@+.2;7B+V<7+36):5+-;+()*+,--.+J79487+8)9<+.733
                               379=762Y7+40:?+;-=+6<7+;2=36+6287+20+6<7+=79-=:7:+<236-=5+-;+6<7+(-=740
                               84=624.+4=63?+2036=)962-0+20+4..+43A7963+-;+6<7+84=624.+4=63+Z209.):20>
                               6<7+8-36+7[-629+40:+73-67=29+@<29<+<4:+<236-=294..5+J770+\74.-)3.5
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                          Success Story of In Hyuk Suh,
                                   Who Conquered the World
                                      Written by Moon Yeong Kim
Story of Traditional Korean Martial Arts and Its Founder
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The success story of In Hyuk Suh,
Who conquered the world

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Came to believe that

Having heard the testimonies from so many people that they have regained physical and mental health by learning the Korean Martial Art, I
could sufficiently understand their enthusiasm. They all said that their life turned to a success through the Korean Martial Art. If somebody can
change other’s life to a successful one, his life was the one in success.
However, In Hyuk Suh, the president of Kuk Sul Won with 1.5 million members across the world said as follows.

“What is the big deal about success, I just did what I wanted to do. I did not dream about success. I just lived doing what I wanted to do for my
whole life, which the others talk about it as such.”
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Went around the temple, and went through repeated research and investigations to name the overall Korean martial art which had no system
as KUKSUL (國術).
  For the first 10 years, he searched for teachers in each division, and learned the traditional martial arts that has continued historically while
not neglecting his own research and development. Upon the historical fact that the double sword dance and Bongsul of Garakguk had been
performed, he visited temples such as Haeinsa, Tongdosa and families in Gyungsannam-do such as in Busan, Kimhae, Masan, Jinju, Ulsan and
researched and integrated the shape of ancient tomb mural to develop swordless type, dagger type, double sword type, long sword type,
bongsul type (short rod, medium rod, long rod), and for Shilla swordmanship, based on Samguk Sagi, he visited Gyungju, Daegu, Youngchun,
Sunsa, Sangju, Euihong, Euisung, Andong etc. in Gyungsangbuk-do and developed current swordmanship such as regular sword type, reverse
sword type, and developed Sambangcho and break type for bare-handed martial arts. In addition, integrated Baekje martial arts were
developed, centered around Junju, Kunsan, Jungeup, Mokpo, etc., in the Honam area, and Daejun, Asan, etc., in the Hoseo area. The purpose
was to establish both bare-handed and armed martial arts, such as the Unak type, soft type, cobbling, etc. Additionally, they developed various
techniques, including the 108gi type, fan type, cane type, acupressure type, etc. These martial arts were referred to as Martial Art24 and were
completed during the time of Jungjo in the Lee dynasty. The process involved researching martial arts handed down across the country and
examining scattered ancient tomb murals one by one. Through this research, they were able to develop the Hosan technique, winding
technique, and kicking technique. Over decades of research and visits, these various techniques were integrated and established into a
comprehensive martial art system called Kuksul, comprising 270 techniques and 3,608 counts.

Kuksul’s Characteristic Yuwonhwa and Kuksul’s Techniques
All techniques that he systemized are based on Yuwonhwa.




                                                                                                      Part 1 Martial Art Story | 51
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Euiheung at the time of his birth and growing should have been a very remote village, we thought.
But to our disappointment, we could not visit president Suh’s family house. The villagers said that after president left for the US, the birthplace
was sold and the new owner tore down the house and built a new building.

Lessons from grandfather
  In Hyuk Suh born as fourth out of 5 brothers and 4 sisters, was influenced much by his grandfather. His grandfather Myung Deuk Suh is the
son of Byung Ik Suh who had been a training officer, served as an instructor until the Korean Empire army was disbanded.
   As blood cannot be deceived, due to the family character, it is suggested that In Hyuk Suh might have turned out to be an expert in martial
arts. In a way, it was fate, not choice. In fact, all of 5 brothers of his are with strong physicals as well as great strength and possess combative
military spirit.
   In old days, when there are many brothers in the family, usually only 1-2 brothers joined the army, but like the 5 eagle brothers, these 5
brothers all have specific experiences that have completed military service in martial arts and related fields such as special forces and marines
in various parts of the country.

  Their hometown, Euiheung is presumed to have been the site of barracks, as you can guess when you go there, the landscape that surrounds
the village is to be protected from outside,

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it is a terrain that is not visible to others and suitable for training.
   Head of divisions at Kulsulwon In Joo Suh insisted that the government agency that was in charge of military service, Uiheungbu, is related to
the name of his hometown, but historical bases could not be found.



Present Seo talking about his hometown, told us an anecdote.
   “There was a very big persimmon tree in our house at rear garden. I do not know how it would look now. Maybe it is a small tree. But at the
time, it was felt so big. My grandfather hung me on the tree and disappeared. Maybe he tried to correct my behavior because I was a crybaby…
I hung on there for life. The time has passed for quite a while, he did not think that I would have hung their so long. In any case, I had been hung
on as was until my arm almost got broken.”

  Would the tree still remain? I visited his hometown and met his friends still living there, Mr. Yun Seok Kim and Young Chul Jung. I asked if the
tree still there, they told me that the tree in only in memories, the root was taken out with development. Like this, civilization just took so many
things and leave them only in memories.




                                                                                                                   Part 2 In Hyuk Suh and Kuksulwon [61]
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   This is the story from when In Hyuk Suh was 12 years old.
  One day, his grandfather lit up a candle and made the cousin younger brother and In Hyuk Suh sit in the room and told them just look at the
candle without moving. The little In Hyuk Suh calmed down and observed the candle, at the time the candle was on and off itself without wind
inside the room, at first, it was strange, but In Huk Seo was scared for the first time in his life.

During another incident, one day, while President Suh was feeding a cow, he found himself confronted by a wolf while seeking shelter under an
umbrella. Despite being just a child at the time, he recalled a valuable lesson learned from his grandfather – that staying alert could mean
survival, even when faced with a tiger. Unable to shout for help, In Huk Suh ingeniously folded the vinyl umbrella he was holding, remembering
his grandfather's advice that animals often run away when something comes into contact with them. Just as he expected, two wolves attacked
him from above, but In Huk Suh swiftly unfolded the umbrella over his head, frightening the wolves away with this sudden action. This
experience reinforced the age-old wisdom that being vigilant allows one to live, whereas giving in to fear may lead to peril. President Suh
reminisced about this incident with an innocent expression, as if he had returned to his childhood. Even now, the memory of his actions fills
him with pride.

What did I do when I was 12 years old? I had never left the town, and

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had never breathed the clear air, in a different perspective, the one who spent an unhappy childhood, just envied even the dangerous
situations that he had to confront wolves.

One day, during the outbreak of the Korean War, a fratricidal tragedy, young In Hyuk Suh witnessed a group of people running frantically.
Without much thought, he joined the refugees, walking alongside them. Carrying his cow with him, In Hyuk Suh searched for a place to feed the
animal. However, the cow wandered into a nearby cornfield. As In Hyuk Suh chased after the cow, the owner of the cornfield appeared and
immediately accused him of being a thief, refusing to listen to the whole story. The situation escalated as more people gathered to watch the
confrontation, and they decided to punish In Hyuk Suh by placing him inside a large sack, saying, "Stay there for some time." In the dark
confines of the bag, In Hyuk Suh contemplated his situation and realized that if he rolled around, the sack might get caught on something and
tear open. After some time, his plan succeeded, and he managed to escape from the bag by tearing it apart. This experience left a lasting
impact on him and played a significant role in his martial arts training in the future. In Hyuk Suh often spoke about this incident, highlighting
the valuable lessons he learned from it, which greatly influenced his martial art journey.



His grandfather drank every night. Only realized later, perhaps because of the situation that prevented him from fulling his ambitions.

                                                                                                                 Part 2 In Hyuk Shu and Kuksulwon |65
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Hapkido and Kuksul
  There formed about 20 subdivisions of Hapkido in Korea currently. Kuksul hapkido can be also found, this was
originated when the Korean Kuksulwon was under the Kidohoi and the direction of it is different from the current world
Kuksulwon.
   In other words, the origin was from the leader Yong Sool Choi propagating the art of Daedongryu to Korea and
Japan’s Aikido was developed through other routes.
   Originally Ryusul is as it is pronounced, means smooth martial art, the basic technique is to use the opponent’s
power to subdue them. Ryuwonhwa that Kuksulwon also applies is also a word that explains Hapkido’s
characteristics. But while the Japanese Aikido mainly uses ‘Ryu’ or, ‘Won’ technology that utilizes centripetal force to
spin one’s body, leader Yong Sul Choi mainly used ‘Hwa’ technology that subdues opponents by bending joints righ
away when confronted with the opponent. Maybe that is why the disciples were afraid of him like a ‘fighter’.

  Different from what president Suh insisted saying “The root of the Hapki Ryusul” is different from our traditional
one”, Hapkido part insists that the root of Daedong Ryu Ryusul that had been trained in Japan is our martial art.

  ‘Following was on KBS 2TV in 1986, 1 year before Mr. Young Sool Choi passed away, (secret


                                                                                              Part 2 In Hyuk Suh and Kuksulwon |85
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   For Korean Kuksul trainees, possibilities for training abroad are open. In fact, several children of Korean trainer are
in studying abroad, divisions and schools that are spread all over the world have been receiving member exchanges
and training abroad with positive mind through interactive collaborations.

  Here, if I confess for a while, when I went to the US for data search to write this book, it still is fresh in mind that I
was embarrassed quite bit from the foreign Kuksul disciples who were excessively polite. Foreign disciples of Kuksul
seemed to have a sense of admiration and respect embedded in their body. I realized once again that planting one
country’s martial art, in fact, one country’s culture is the way to raise a country’s status more than any economic
achievement.




Kuksulwon, a Great Business
   At present, world Kuksulwon organization is spread evenly across 29 countries including North America and South
America, Europe, in addition to Middle east such as Turkey, Iran and Africa. The number of schools affiliated with this
organization reaches 700 locations at present in 2003, and accumulated membership counts over 1.5 million.
Kuksulwon is growing very fast since the beginning of 2000, based on the number of memberships, the increase rate
is up to average 25% per year. When Europe market which is currently exploring is separately calculated, the growth
rate is unbelievable.

                                                                                      Part 2 In Hyuk Suh and Kuksulwon | 135
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   Division establishment of the Kuksulwon is only permitted with the headquarters’ certification, and the
management principle is that level up procedure and division management system also need to follow the
headquarters’ guidance strictly. Kuksulwon where the organization has become huge operates 3 specialized
business divisions for effective operation. Seminar division that takes charge in annual seminar, championship
division that manages regional tournaments, and evaluation division that is responsible for level ups are the 3 ones,
which Kuksulwon says that the division will take place soon.

   Different from the success abroad, Korea Kuksulwon which went over difficulties, turned over a new leaf to
establish Kuksulwon corporation to be absorbed into the world Kulsulwon headquarter as the affiliated organization.
Korea Kuksulwon organized the central operation committee and about 100 schools under current 11 divisions are in
operation and as the motherland ot Kuksul’s statehood, it shows the most traditional Kuksul.
   In business side, Kuksulwon has a great profit structure. In addition to the revenue from the school operation as
the major income, level up examination fee alone is very high. Let’s assume 1 over 3 members out of 1.5 million
members all over the wold take level-up examinations in a year, when the average level up examination fee is
assumed as 100 dollars, it comes up to 45 million dollars, which is 54 billion won in Korean money, which shows the
great economic effect. So, Kuksulwon, uniquely as a centralized martial art organization,

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President Suh places a strong emphasis on the values of filial piety, respect for parents, and love for family. This is
evident in his unwavering commitment to holding annual memorial services for his late parents, even during his time
in the US. Notably, while he resided in San Francisco, he generously provided space for the Korean Senior Citizens
Association, which was in need of a place to gather but couldn't afford rent. Demonstrating a daily practice of respect
for the elderly has become an integral part of his life.
Regarding his love for his family, President Suh is a strict father to his children and a demanding husband to his wife.
However, his deep affection and love for his wife are widely known. The four sons raised under the guidance of such
parents have all achieved remarkable success and gained recognition across various fields, a fact that President Suh
is immensely grateful for.

The eldest son, Division Chief Sung Jin Suh, operates a San Francisco school and maintains a direct connection with
the work of Kuksulwon. The second son, Sung Woo Suh, currently serves as a professor at Houston Spinal College.
The third son, Sung Soo Suh, holds a PhD from UCLA and works as a senior researcher at Samsung Electronics
Research Institute. Lastly, the fourth son, Sung Bok Suh, graduated from the Film department at NYU (New York
University) and is currently preparing for graduate school.

President Suh firmly believes that when parents and children truly love and support each other, they can overcome
any difficulties in life. He sees this loving bond as the foundation not only for harmonious relationships with neighbors
but also for fostering a love for one's country.
  Due to this mental education that is infused to the members who enters Kuksulwon,

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                               Declaration of Jang Jin Mi




EXHIBIT T, Page 5
TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
SUNG JIN SU v. WORLD KUK SOOL ASSOCIATION, INC., et al.
 Case 4:23-cv-03215 Document 55-5 Filed on 10/24/23 in TXSD Page 35 of 56




 1          I, Jang Jin Mi, hereby declare:
 2          1.      I have personal knowledge of each fact stated in this declaration, and if called as a
 3   witness, I could and would testify competently thereto.
 4          2.      In 1964, I married In Hyuk Suh after the birth of our son, Sung Jin Su.
 5          3.      My father was working at the Social Security office at the time and when I gave
 6   birth to my son, my father thought it was best to quickly file for marriage so a marriage
 7   certificate was filed. In Hyuk Suh was not aware that a marriage certificate had been filed until
 8   he tried to marry another woman. He then asked me for a divorce.
 9          4.      When our son was two years old, I separated from In Hyuk Suh and relocated to
10   Daegu, South Korea due to In Hyuk Suh’s infidelities.
11
            5.      From the suspicious demeanor of Suh In Hyuk's friend's younger sister towards
12
     Suh In Hyuk, Suh In Hyuk's mother and I realized their relationship was deep. She later married
13
     Suh In Hyuk's younger brother.
14
            6.      I have no knowledge of In Hyuk Suh being instructed by monks, nor any
15
     indication that his lineage involves “16 generations” of martial arts practitioners.
16
            7.      My son, Sung Jin Su, is the grandson of 서 윤근 (Suh, Yun Kun) and 김 우연
17
     (Kim, Woo Yeon). In Hyuk Suh seldom mentioned his grandfather, 서명덕 (Suh, Myuk Duk).
18
            8.      In Hyuk Suh never mentioned that 서명덕 (Suh, Myuk Duk) was a martial artist
19
     or even a significant influence in his life. I would have expected for In Hyuk Suh to talk more
20
     about his grandfather if he were indeed a significant influence in his life.
21
            9.      To the best of my knowledge, In Hyuk Suh's parents managed a rice store, and
22
     his father was not a practitioner of martial arts. His father, in fact, discouraged In Hyuk Suh's
23
     interest in martial arts given the negative reputation it held in Korea during that time.
24
            10.     In Hyuk Suh's martial arts and family lineage narratives are a lie and it is possible
25
     In Hyuk Suh believes his fabrications would not be challenged due to the geographical distance
26
     between the United States and Korea.
27
                                                      2
28        DECLARATION OF JANG JIN MI IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                                          MOTIONS TO DISMISS & TRANSFER
                                                                   Case No. 3:23-cv-01570-JCS
 Case 4:23-cv-03215 Document 55-5 Filed on 10/24/23 in TXSD Page 36 of 56




 1          11.     In Hyuk Suh confided in me that during high school, after a severe assault that he
 2   received, he began martial arts training from a teacher near his home. He was able to do so
 3   because he attended night school. In Hyuk Suh told me that he wanted to seek vengeance
 4   against those who had severely beaten him.
 5

 6   I declare under penalty of perjury under the laws of the United States of America that the
 7   foregoing is true and correct.
 8   Executed on June 23, 2023 in Dae Gu,
     South Korea
 9

10                                                 By: /s/ Jang Jin Mi
                                                       Jang Jin Mi
11

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28        DECLARATION OF JANG JIN MI IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                                          MOTIONS TO DISMISS & TRANSFER
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     Case 4:23-cv-03215 Document 55-5 Filed on 10/24/23 in TXSD Page 37 of 56



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10                                     샌프란시스코 부서

11

12   성진수,                                      사건 번호 3:23-CV-01570-JCS

13                        원고,
                                                    (1)개인 관할권의 결여에 대한 고소
14               상대                                   기각[Fed.R.Civ.P.12(b)(2)]; (2)
15   월드 국술원, 텍사스 법인                                   클레임을 진술하지 않은 것에 대한

16   WKSA, LLC 유한 책임 회사; 및                            고소기각[Fed. R. Civ. P. 12(b)(6)];
                                                      또는 (3) 소송을 남부 텍사스 지부로
17   DOES 1 에서 10, 포함,
                                                      이송[28 U.S.C. § 1404]의 피고의
18                        피고.
                                                      소송에 대한
19
                                                      원고 반대 장진미의 지지 선언
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                                               날짜:       2023 년 8 월 25 일 25
22                                             시간:       오전 9:30
23                                             장소:      Videoconference only
                                               Zoom ID: 161 926 0804
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                                               패스워드: 050855
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26                                             판사:       Hon. Joseph C. Spero

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         DECLARATION OF JANG JIN MI IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                                         MOTIONS TO DISMISS & TRANSFER
                                                                  Case No. 3:23-cv-01570-JCS
 Case 4:23-cv-03215 Document 55-5 Filed on 10/24/23 in TXSD Page 39 of 56




 1   피고의 기각과 이전 고소에 대한 원고의
     반대 지지 장진미의 선언
 2

 3   사건 번호 3:23-CV-01570-JCS

 4

 5        나 장진미는 다음과 같이 선언합니다:

 6        1.     나는 이 선언서에 언급된 각 사실을 개인적으로 알고 있고, 만일 내가

 7   증인으로 소환될 경우, 그것에 대해 충분한 증언을 할 수 있고 할 것입니다.

 8        2.     1964 년, 나는 우리 아들 성진수의 출생후 서인혁과 결혼했습니다.

 9        3.     내 아버지가 당시 사회 보장국에서 일을 하였고 내가 내 아들을 낳았을 때,

10   내 아버지가 신속하게 혼인 신고를 하는 것이 최선이라고 생각하였기 때문에 혼인

11   신고를 하였습니다. 서인혁은 그가 다른 여성과 결혼하려 할 때까지 혼인신고가 된 것을

12   몰랐습니다. 그때 그는 나에게 이혼을 요구하였습니다.

13        4.     우리 아들 2 세때, 나는 서인혁의 불륜으로 서인혁과 별거하고 한국 대구로

14   이주하였습니다.

15        5.     서인혁의 여동생 친구의 서인혁에 대한 의심스러운 처신으로, 서인혁의
16   어머니와 나는 그들의 관계가 심각한 것을 깨달았습니다. 그녀는 나중에 서인혁의
17   남동생과 결혼하였습니다.
18        6.     나는 서인혁이 스님들로부터 가르침을 받았거나 그의 가계가 무술가 “16
19   세대”를 포함하는 것에 대해서는 아는 것이 없습니다.
20        7.     내 아들 성진수는 서윤근(Suh, Yun Kun)과 김우연(Kim, Woo Yeon)의
21   손자입니다. 서인혁은 그의 조부인 서명덕 (Suh, Myuk Duk)에 대해서는 거의 언급하지
22   않았습니다.
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24   있었다는 등을 언급한 적이 없습니다. 나는 그가 진실로 그의 삶에 큰 영향을 중
25   사람이었다면 그의 조부에 대해 더 많이 얘기했으리라 예상했을 것입니다.
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28       DECLARATION OF JANG JIN MI IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                                         MOTIONS TO DISMISS & TRANSFER
                                                                  Case No. 3:23-cv-01570-JCS
 Case 4:23-cv-03215 Document 55-5 Filed on 10/24/23 in TXSD Page 40 of 56




 1       9.     내가 아는 한, 서인혁의 부모는 쌀 가게를 관리했고 그의 아버지는
 2   무술가가 아니었습니다. 사실 그의 아버지는 당시 한국에서의 부정적인 평판 때문에
 3   서인혁의 무술에 대한 관심을 단념하도록 했습니다.
 4       10.    서인혁의 무술과 가계도 서술은 거짓이며 서인혁이 그의 허구가 미국과
 5   한국사이의 지리적 거리로 문제가 되지 않을 것이라고 믿었을 수 있습니다.
 6       11.    서인혁은 고등학교 시절에 그가 받은 심한 공격 후, 집 근처
 7   선생님으로부터 무술 훈련을 시작하였다고 나에게 고백했습니다. 그는 야간 학교를
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 9   하고 싶다고 말했습니다.
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     집행됨
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13                                           작성자:
14                                             장진미

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28      DECLARATION OF JANG JIN MI IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                                        MOTIONS TO DISMISS & TRANSFER
                                                                 Case No. 3:23-cv-01570-JCS
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                   An account of the true history of Kuk Sool Won
               by Inseon Seo, President of Korean Hapkido Federation




EXHIBIT T, Page 6
TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
SUNG JIN SU v. WORLD KUK SOOL ASSOCIATION, INC., et al.
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 Furnished on the 21st day of August, 2023



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Respectfully,




Salvador G. Ordorica
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English translation

From: https://m.cafe.daum.net/dojunim/tSa/33?listURI=%2Fdojunim%2FtSa

The Memoir on the History of Hapkido written by Hapgisarang
Published on 07/01/02
Views 379
List
Comment
Source: Martial Arts Newspaper

Inseon Seo (President of Korean Hapkido Federation)

My Childhood

Introduction to Hapkido
I am from Uitae-myeon, Gungi-gun, Gyeongsangbuk-do. Until middle school, I exercised alone
with parallel bars and iron bars. Like all children, I disliked losing to others. Also, it was not long
after the Korean War had ended, so society was still tense and many people exercised diligently
in their own way.

I was unusually strong compared to boys my age, so there were no kids who wanted to fight
me. When I entered Daegu Commercial High School at 17, I heard rumors of an unusual martial
art in Daegu called "Yawara". It was said to be extremely powerful and no one could defeat it. I
even heard that someone named Seobok Seo could turn tiles to dust with his bare hands.

"Oh really? Then I should learn it too." Luckily, my older brother Inhyeok was already learning
Yawara, so I could easily visit the gym.

At that time there were two gyms, one run by Yongsool Choi and another run by Bokseob Seo. I
first went to learn from Yongsool Choi.

My first impression of Choi's 15 pyeong (534 sq. ft) gym was that the environment was very
poor. The walls were bare without a single painting and the floor just had a few tatami mats.
One notable thing was a curtain set up in the middle of the gym, so that the inside was invisible
from the outside.

Behind the curtain, Master Choi taught students one-on-one, teaching technique by technique in
secret. No one knew how much any other student had learned. Only Master Choi and the
individual student knew.

Training Life
Master Choi was extremely strict. Even in the one-on-one training, he showed no mercy. He
would bend and kick relentlessly. However, it was not without recognition. He taught each
technique sincerely and gently, though strongly. We could feel that he was teaching out of love.
That's why we learned eagerly and sincerely.
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He emphasized to us, "Never lose to others." He didn't encourage fighting but hated when we
lost. He always said he was the best, so we had to always be the best. So we tried our hardest
to be stronger than anyone and were acknowledged as the strongest outside the gym.

The Origin of the Term Hapkido
During the U.S. occupation of our country, the military training of stationed American troops
included Eastern martial arts. Among them was a Japanese textbook that contained the term
"Aiki-do."

One of Master Choi's students brought the book to him and asked, "Is this the martial art you
teach?" Seeing the book, Master Choi said, "Yes, this is the martial art I teach." The story
spread quickly and the martial art became known as Hapkido. I believe this story that I heard at
the time is credible.

Master Choi's Escape
Master Choi was originally from Youngdong, Chungcheongbuk-do. I heard he was orphaned at
a young age and adopted by a Japanese family, training in martial arts in Japan. He returned
to Korea in 1946 and began teaching students.

However, from what I saw, Master Choi did not intend to systematically hand down the Hapkido
tradition. He did not designate seniority between students. He only taught a secretive handful of
students, so students from the same school didn't even know each other.

Master Choi had a son and a daughter. He had a fiery personality, direct, and very quick-
tempered. He treated each person differently, maybe due to his difficult childhood and poverty.
Also, he was in his 50s while we students were teenagers and 20-somethings, so it was difficult
to get along. Of course, some neighborhood elders came to learn, but the students who trained
seriously were hot-blooded youths, and they later became the pillars of Hapkido schools.

Master Choi was an outstanding person, gentle and reserved. I remember him with special
feelings as the first person who taught me Hapkido. I sincerely wish Master Choi's soul to rest in
peace.

2nd floor of a Makgeolli Factory, Hapkido Gym
Bokseob Seo was from a prestigious Daegu family. In his 20s he owned a makgeolli brewery. It
was right after the war and there was little food, so crowds were lining up at dawn outside the
makgeolli factory eager even for the dregs. No instructions were needed to queue up, and one
day Choi Yongsool cut in line, sparking a brawl where he swiftly defeated the other man.
According to Seo, it only took seconds. That's how strong Choi was.

Seeing this, Seo politely invited the older Choi to use the 2nd floor of his brewery as a gym and
volunteered to become his student.
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Bokseob Seo Leaves Hapkido
Seo taught Hapkido in Daegu until the 1960s. But in the 1970s after moving to Seoul, he
stopped teaching Hapkido and instead did chiropractic therapy. I heard he held an executive
position in that field and is still involved today.

I remember Seo as gentle and generous. As the son of a wealthy family, he received a proper
college education. He always spoke softly and gave his students allowance while teaching, so
almost every Hapkido practitioner from that time learned under Seo at some point.

It's regrettable that he stopped Hapkido later on. However, I can firmly say that Seo contributed
greatly to establishing Hapkido in its early stages.

My Older Brother Inhyeok
I learned Hapkido together with my older brother. He trained just as passionately as I did and
was one of the top Hapkido experts at the time. We have fond memories of exercising together
as boys.

In the 1970s he left Korea to immigrate to the U.S. as an employee of Kuk Sool Won, giving up
all activities in Korea. As I explained before, Inhyeok is my older brother. In the U.S. he
established the World Kuk Sool Association and excellently promoted Kuk Sool, Korea's
indigenous martial art.

By the way, Kuk Sool is a comprehensive martial art encompassing Hapkido, Kwonbeop, and
weapon techniques. It has gained considerable recognition abroad. I remember my brother
Inhyeok as an early member of Hapkido. I cherish the childhood memories of exercising
together with my brother.

Hapkido Evolved around Kuk Sool Won, Sung Moo Kwan, and Shin Moo Kwan

Early Hapkido practitioners
After Master Choi began teaching Hapkido in the early 1950s, Hapkido gyms quickly sprang up
around the nation. The early Hapkido gyms I remember in Daegu besides Masters Choi and
Seo were Chang Inmok, Song Joonghwa, Kang Moonjin, Shin Sangcheol, Kim Jeongyoon etc.
Their passion and devotion surely contributed to Hapkido's development.

Sadly, they left only personal histories without forming organized schools, while the 3 major
schools discussed below produced over 80% of the nation's 4,000+ Hapkido gyms. So I will
focus on these 3 schools.

The Arduous Pioneering Days of Hapkido
The early Hapkido gyms endured tremendous hardship. The national income was about $70
then, and gyms only collected 100 won per month per student. Despite the meager operation,
students were vigorous youths with nothing but strong bodies. Both instructors and students
exercised with overflowing passion, sharing joy and sorrow as they grew the gyms.
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Students qualified as instructors and pioneered all over the nation as Hapkido missionaries.
Local gangs were always severe, blocking gyms for months on end. They had to fight off dozens
of challengers with 10-to-1 odds. I heard the founder of Sung Moo Kwan especially struggled
against the infamous Jongno gangs.

This is how Hapkido evolved and grew. As I traveled nationwide, I met almost every famous
local gangster. There were fights, but more reconciliation as we spent many years together.
Hapkido quickly spread because our people have an innate talent for martial arts, and we
earned recognition for our practical fighting ability. As a result, the number of gyms reached
several hundred in the 1960s, spurring the establishment of the Daehan Kido Association in
September 1963. The first president was Master Choi Yongsool.

Sung Moo Kwan practitioners
Ji Hanjae graduated from Daegu High School in 1956. Around 1958 he ran a Hapkido gym in
Andong. Then in 1959 he went to Seoul and founded the Sung Moo Kwan gym, the first of its
kind.

Hanjae and I were quite close since childhood (he was a year ahead at Daegu High). He
exercised well and was good at fighting too. He always exuded confidence and was affectionate
and gentle. As an instructor at the Blue House security service, he greatly contributed to
promoting Hapkido. I can boldly say that. Today he lives in the U.S. leading the Shin Moo
Hapkido Association as Grandmaster, highly respected.

Other early key members of Sung Moo Kwan were Hwang Deokgyu, Lee Taejoon, Kim Yongjin,
Kim Younghan, Han Bongsoo, Choi Seoho, Myung Kwangsik (U.S. resident), Myung Jaenam
(deceased), Kwon Taeman (U.S. resident), Kim Jipal (U.S. resident), Lee Deoggu, Kang
Jeongsoo, Kim Jongtaek, Yoo Myungwoo, Song Ruwon, and security service members Oh
Seelim and Park Sangbeom.

Shin Moo Kwan practitioners
Kim Moo-hong and I have a special relationship. He was my senior by one year at Daegu High,
graduating in 1959. We have shared our whole lives. With his handsome looks, I'd describe him
as a true Gyeongsangnam-do gentleman. He too was warm and gentle. However, it's
regrettable that he stepped away from Hapkido leadership so early. Still, Shin Moo Kwan
continues strongly today.

Other early key members of Shin Moo Kwan were Kim Jeongsoo, Lee Min-young, Kim
Moojeong (Kim Moo-hong's younger brother), Won Kwanha, Na Indong, and Shin Donggi
(overseas resident).

Kuk Sool Won practitioners
Kuk Sool Won Hapkido began in 1961 in Jungang-dong, Busan led by my brother Inhyeok Seo.
As I explained before, Inhyeok is my older brother who graduated from Daegu High in 1957.
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He's a truly kind person, always considering others first and trying to understand them.
Currently, he lives in the U.S. where he established the World Kuk Sool Association and serves
as president. He has become so famous that "Inhyeok Seo's Day" has been designated.

I can't leave out my oldest brother Inseok Seo, another key early member. He vigorously
promoted Hapkido throughout the Jeolla-do region, enduring unbelievable hardship. But his
efforts allowed Hapkido to take root there, a tremendous contribution.

Other early key members were Inseon Seo (myself, current president of the Korean Hapki-do
Federation), Jungoh Lee, Jungwon Byeon, Jaeho Ko, Youngtae Ko, Saegi Byeon, Inseok Park,
Changhyun Jo, Sejoon Kim, Hee Lee, Youngjun Pi, Changsoo Kim, Kwangjeong Kang, Jaryong
Jo, Han-young Choi, Chongmoon Jin, Jinsu Jung, Seongjin Lee, Soonkil Jin, Seungjin Kim,
Soobok Oh, Doyoon Lee who previously did Taekwondo but switched to Hapki-do, Jae Soo Jo
who ran a gym at a young age, Joo-bang Lee currently leading Hwarangdo Association in the
U.S., Hancheol Lee, Woottak Kim (Canada resident), Moojin Kim, and Ilwoong Heo who joined
academia in the 1970s while running a gym, now a professor at Myongji University maintaining
ties with Japan's Daito Ryu and China's Wushu.

The masters listed above ran Hapkido gyms in the 1960s. I regretfully cannot list every name as
I don't remember them all.

<The history of Hapkido as told by Inseon Seo>

What kind of martial art is Kuk Sool Won?
I personally think it is a welcoming thing to hear that Kuk Sool is very popular these days. First of
all, it is because my older brother, Seo Inhyeok, is the supreme authority in Kuk Sool, and I also
inherited Kuk Sool and made 'Kuk Sool Won Hapkido' the single best martial art group in Korea.

However, I was offended by the strange rumors I heard all the time, and I decided to reveal
them at this opportunity, because I thought that history should not be distorted.
Many of the stories about Kuk Sool are true in many respects. However, after hearing that Kuk
Sool and Hapkido are completely different martial arts, I decided to correct the history.
When my older brother, Seo Inhyeok, was in his teens, he went to Do-ju Choi Yong-sul and
received private lessons in Hapki-do. Like Seo Bok-seop, Ji Han-jae, and Kim Moo-hong, who
were with us at the time, we also learned hard and became Choi Do-joo’s recognized disciples.

After that, Seo Inhyeok and I formed 'Kuk Sool Won Hapkido', the third major branch of
Hapkido, and enthusiastically developed its power. The power spread across the country in an
instant, just like burning oil.

Until 1973, while increasing the power of Hapkido on one hand and seeking integration of
Hapkido on the other hand, Seo In-hyuk transferred all authority over Kuk Sool Won to me and
immigrated to the United States as a 'Hapkido instructor of the Korean Kido Association'. When
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my older brother Seo Inhyeok left for the United States, there were about 10 Kuk Sool Won
practices in the country. After that, in the early 1980s when I took over the Kido association
meeting, it had grown into the best organization boasting about 100 studios.

- Korea Kido Association Meeting -
In May of 1983, with the will to integrate all Hapkido into Kuksoolwon Hapkido, I took over the
Korea Kido Association by leading the Kuk Sool Won Hapkido organization. I was the first
Hapkido person to serve as the president, and my older brother Seo Inhyeok was appointed as
the president because he was my Hapkido senior and according to his will. And Ji Han-jae was
a director of the Kido Association meeting in the 1980s.

At the time of the acquisition, 72 dojos were belonging to the Korea Kido Society, and the Kuk
Sool Won Hapkido dojo, which I led, had about 100 dojangs, and as the two powers merged,
the number of Hapkido halls more than doubled over the years.

However, as revealed previously, the appearance of the supreme power, Gyeong-hwan Jeon,
put the Korea Kido Society in crisis, and the 'Saemaeul Hapkido' led by Mr. Jeon Gyeong-hwan
bloomed splendidly for two years and withered away. Dojangs and other dojos who had
escaped from this situation began to flock to the Korea Kido Association Meeting, marking the
heyday of the Korea Kido Association Meeting. In 2002, when I was the president, there were
about 850 branch offices.

Hapkido is Hapkido -
Master Choi is clearly the one who sowed Hapkido seeds in Korea. We are his students.
Whether they are from Shin Moo Kwan, Sung Moo Kwan, or Kuk Sool Won, their ancestors
perspired together with Master Choi at Hapkido's inception.

So it saddens me that some (or their descendants) now disavow Master Choi, saying they didn't
learn Hapkido or that it's different. To deny one's ancestors is betrayal, in my eyes.

Having experienced the history of Hapkido with my whole body, while listening to the distorted
story of Hapkido being practiced now, I promise to correct the history of Hapkido and reveal all
the facts. This is so that descendants can properly serve their ancestors and the ranks of the
top and bottom are properly organized.
Even now, the seniors of Hapkido must find the root of their ancestors and reveal their identity.
In this way, Hapkido will be a completed martial art not only as a martial art but also as a
courtesy and theory.

Choi Yongsul
I've heard claims that Master Choi taught haphazardly without forms, and his students created
forms freely. More extremely, some even ridicule that Master Choi has no lineage in Japan.
However, when introducing Hapkido in Korea, Master Choi was an accomplished martial artist
fully qualified as a teacher. Though he did not seem to intend to systematically transmit
Hapkido.
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He privately taught students technique by technique. Students had different knowledge
depending on what was transmitted to them. With this personalized transmission, students had
different perspectives and were also creatively gifted. They would research what Master Choi
taught, systemize and develop the techniques, then teach organizationally in their gyms,
becoming the lubricant for Hapkido's rapid diffusion.

Master Choi was sharp and keen, strict and frightening to students. Students learned intently
with sincerity to master each technique and passed them well to their students.

Hapkido Seniors Were Great -
I hear there are about 4,000 Hapkido gyms today. I am sincerely overjoyed. Looking back after
starting with just a couple of gyms and tirelessly pioneering nationwide, I have special feelings.

How were so many Hapkido gyms possible? The answer in one word is the sweat and sacrifice
of the early practitioners.

They did nothing but research Hapkido, eating, and sleeping in the gyms. From one technique
they created hundreds of variations. They repeatedly tested on students, improving and
modifying until perfecting what is now Hapkido.

When those who nibble at the pioneers' efforts say they "created Hapkido freely" or are
"different from Master Choi," it is childish behavior. I ask the seniors to find your origins and
clarify your identity. Only then can Hapkido be a fully realized martial art, not just technically but
ethically and philosophically.

Additionally, I pondered deeply that if anyone can claim the ethnicity of any martial art and claim
to have founded it, how confused the martial arts world will become with so many bogus names.
I hope current gym leaders will think back 20 years and consider how many different martial art
names were common back then.

Let us become proud Hapkido practitioners transcending factions and schools!

Hapkido in Korea has been described before, but it has been more than 50 years since Choi
Yong-sul first founded Hapki-jujutsu in Daegu in 1954. In the 1960s, Hapkido grew significantly
in the Korean martial arts world after Taekwondo, starting with Choi Yong-sul’s Daegu
headquarters, Ji Han-jae’s Seongmugwan, Kim Moo-hong’s Shinmugwan, Seo In-hyeok’s Seo
In-seon’s Guksulwon, and Heo Il-woong’s Guksulgwan. Hapkido grew and developed like
bamboo shoots after rain.
In order to make this a central point, the Korea Kido Association was established on September
2, 1963, and the first president was Choi Yong-sul, Do-ju. Schools such as Seongmugwan, Kuk
Sool Won, and Shinmugwan established themselves throughout the country.

However, as the next 10 years passed, more and more officials broke away from each faction,
and Hapkido began to shake greatly. As a result, the instructors in charge of each sect
continued to divide increasingly as they were limited in their scope of practice. In particular, in
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the 2000s, as the national policy transferred the permission of corporations to local
governments, the establishment of corporations was eased, and now about 40 Hapkido groups
are in a state of brain death.

As the first generation of Hapkido, what I want to say to the instructors in charge across the
country is to solidify the identity of our Hapkido even if there are a hundred corporations, and all
practicing practitioners have the attitude of mind to make Hapkido the best martial art in Korea. I
want you to think deeply about whether you will be able to do this.

In order for Hapkido to stand tall as the best martial art, it must transcend each faction, and the
young practitioners who account for more than 70% of Hapkido, in particular, must make their
own decisions to choose the way to go for Hapkido and make it known to all members. I think
the grand system will be designed.

Not too long ago, I had a conversation with a high-ranking police officer about the issue of extra
points at the National Police Agency. This person asked why there are so many organizations
and corporations in Hapkido, and I couldn't help feeling ashamed and apologetic to them when I
heard that Hapkido suffered a lot of disadvantages because of the social controversy caused by
irregularity. In this way, I think it is time for us Hapkidoists to realize that if our Hapkido is
separated and competed, it will become weaker and weaker.

Now, what allows Hapkido to inherit Korea's traditional martial arts and take its perfect place as
the best martial art is to throw away absurd remarks about its history distortion or truth
distortion, such as 'I am not Hapkido', 'I founded Hapkido', or martial arts by mentioning
ancestors. We need to try and regain the original popularity of Hapkido when it was first founded
in this land. I believe that the future of Hapkido will be opened only when all techniques are
reorganized so that those who learn Hapkido can feel changes in their lives through better
techniques and teachings, establish a large number of Hapkido members, and produce
excellent practitioners who will open the future of Hapkido among them. do. I hope that all the
practical directors who are working hard to spread Hapkido across the country will change their
mindset and become proud Hapkidoers who transcend sects and sects.

The Foundation of Hapkido
After liberation, Hapkido opened a new chapter for traditional Korean martial arts as founded by
Master Choi Yongsool. There were many activities by his students, but some who especially
pioneered spreading Hapkido nationwide in its early days were:

Sung Moo Kwan's Ji Hanjae, Kuk Sool Won's Inhyeok Seo and Inseon Seo, Shin Moo Kwan's
Kim Moo-hong, Hosinsul's Bokseob Seo, Song Moo Kwan's Song Joonghwa, Pyeong Moo
Kwan's Kang Moonjin, Hankul Moo Sool (Kim Jongyoon), Eulji-gwan's Kim Yongjin, Hosindo's
Lee Dongjoo, Kukje Yeonhab's Myung Jaenam, Yeonbi-gwan's Kim Jeongsoo, Yusim-gwan's
Lee Minyoung, Won Moo Kwan's Won Kwanghwa, and more. These Hapkido practitioners laid
its foundation.
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We Must Join the Korean Olympic Committee with One Mind One Heart

Over 50 years since Hapkido's founding, there are over 3,000 gyms and around 40 associations
and corporations throughout the nation, not to mention the many martial arts derived from
Hapkido.

Now, as traditional martial artists, we should return to the mindset from its beginnings and think
only about Hapkido's development. Hapkido practitioners must unite as one, integrating with a
united stance. To do so, we must hurry to gain entry into the Korean Olympic Committee and
consult with authorities.

We Must Establish a Philosophy to Inherit the Hapkido Founding Spirit

The significance of Hapkido's founding was to re-compile the excellent self-defense techniques
of our ancestors and spread their skills and spirit to all citizens, nurturing Hapkido practitioners
with martial ethics and patriotism. The spirit was obedience and loyalty – devotion to country,
serving parents, respecting masters, attending seniors, and loving juniors. Etiquette was valued
over knowing one more technique.

With this spirit as a foundation, Hapkido practitioners must establish their own martial arts
philosophy. Then acts of betraying masters, disregarding seniors, encouraging fragmentation,
disrespecting and backbiting each other, and other behaviors obstructing Hapkido's
development should disappear from the Hapkido world.

Also, martial arts claiming self-creation or invoking ancestors with ulterior motives should not set
foot on this land. All gym leaders and senior instructors must build a society where truth prevails
in Hapkido.

Furthermore, our martial arts community must not commit the error of being dismissed by the
general intellectual class. We must walk a clear path based on solid ideology and the strong
spirit of martial artists – deeply valuing etiquette and a martial ethic for national defense.
We must contribute to a society of self-improvement with our vitality of mind and body and
martial arts philosophy. By gaining respect from the public, we can also secure more members.
Along with Taekwondo, Hapkido should fully establish itself as an outstanding martial art for
self-defense.

All gym leaders and senior instructors must make their best efforts so our Hapkido can stand tall
once again in this land – that is my earnest hope.

I appreciate Martial Arts Newspaper for providing the space to serialize the history of Hapkido.
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          Photograph of In Hyuk Suh with his real instructor, Master Choi




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TO PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT
Case No. 4:23-cv-03215
SUNG JIN SU v. WORLD KUK SOOL ASSOCIATION, INC., et al.
